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Attorney for Plaintiff VNS Federal Services, LLC

                            IN THE UNITED STATES DISTRICT COURT

                                    FOR THE DISTRICT OF IDAHO


VNS FEDERAL SERVICES, LLC.,
                                                      Case No.: ____________________
        Plaintiff,
                                                      VERIFIED COMPLAINT FOR
vs.                                                   DECLARATORY JUDGMENT
                                                      AND PRELIMINARY AND
PORTSMOUTH MISSION ALLIANCE,                          PERMANENT INJUNCTION
LLC.,

        Defendant.


        For its Verified Complaint for Declaratory Judgement and Preliminary and Permanent

Injunctive Relief, Plaintiff VNS Federal Services, LLC (VNSFS) states as follows:




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                          PARTIES, JURISIDICTION AND VENUE

       1.       VNSFS is a Delaware limited liability company with its principal place of

business in Richland, Washington. VNSFS provides support services to sites operated by the

United States Department of Energy as both a prime contractor and subcontractor. These

services include physical security, information technology support, records keeping,

cybersecurity, and nuclear and hazardous waste management.

       2.       Portsmouth Mission Alliance, LLC (PMA) is an Ohio limited liability company

with its principal place of business in Piketon, Ohio. PMA is a joint venture formed for the

purpose of providing infrastructure support services at the United States Department of Energy’s

Gaseous Diffusion Plant in Piketon, Ohio.

       3.       Jurisdiction is proper under 28 U.S.C §1332 as the amount in controversy exceeds

$75,000, exclusive of costs and interests, and this action is between citizens of different states.

       4.       This Court has the power to grant the relief sought in this action pursuant to 28

U.S.C. §2201.

       5.       Venue is proper pursuant to the venue selection clause contained in VNSFS’

subcontract with PMA which provides litigation shall be brought in Federal District Court with

venue in the United States District Court for the District of Idaho.

                                  FACTUAL BACKGROUND

       6.       The Department of Energy operates a gaseous diffusion plant in Piketon, Ohio at

which it enriched uranium for use in the United States nuclear arsenal. DOE ceased enriching

uranium at the facility and is in the process of decontaminating and decommissioning (D&D) the

plant through a separate contract. The D&D work is the principal activity at the Piketon facility.




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       7.       In early 2015, the U.S. Department of Energy issued solicitation No. DE-SOL-

0006421 for the Portsmouth Infrastructure Support Services Contract in Piketon, Ohio (the “ISS

Work”). The general purpose of the ISS Work is to provide all the support services required by

the D&D contractor – from physical security of the facility to janitorial services.

       8.       North Wind, LLC and Smith & Staley, Inc. formed PMA as a joint venture for the

purposes of pursuing the ISS Work.

       9.       Wastren Advantage, Inc. (WAI) was a corporation that provided site support

services to DOE sites around the country, including the facility in Piketon.

       10.      On February 26, 2015, PMA entered into a teaming agreement with WAI under

which WAI would utilize its expertise and experience at the Piketon site in support of PMA’s

proposal for the ISS Work. In exchange for this assistance, PMA agreed that WAI would act as

a major subcontractor for the ISS Contract.

       11.      DOE accepted PMA’s proposal and entered into a fixed price contract with PMA

for the ISS Work memorialized as Prime Contract No. DE-EM000-4062 (the “Prime Contract”).

       12.      On April 14, 2016, PMA and WAI entered into Subcontract No. PMA-S.07 under

Prime Contract No. DE-EM000-462 (the “Subcontract”, attached as Exhibit A). This was a

fixed price subcontract for three separate scopes of work. As additional compensation, PMA and

WAI agreed to share in the fee which PMA received from DOE under the prime contract.

       13.      Under the terms of the subcontract, WAI was responsible for three major scopes

of work:

                a. Safeguards and Security (S&S): This included physical security, program

                   management operations, and personnel security (e.g., individual security

                   clearances);



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               b. Computing, Telecommunications and Cyber Security: Here, WAI provided IT

                   support, cyber security services, and telecommunications support.

               c. Records Management and Document Control: Under this scope of work,

                   WAI was generally responsible to maintain, manage and dispose of the

                   documents created at the Piketon site.

       14.     In March 2018, VNSFS purchased the stock of WAI and assumed WAI’s

responsibilities under the subcontract.

       15.     In June 2018, PMA assumed the Safeguards and Security scope of work from

VNSFS after lengthy negotiations. This reduction in scope also resulted in a modification of the

fee sharing arrangement by which PMA increased its fee and reduced the amount shared with

VNSFS.

       16.     VNSFS’ remaining scope consisted of the IT/cybersecurity and records

management functions. Of these remaining scopes of work, cybersecurity was the smallest and

represented only approximately ten percent of the overall value of the work.

       17.     In early 2019, DOE informed PMA and VNSFS that representatives from DOE’s

main office in Washington, DC would be performing a review of the cybersecurity systems at the

Piketon facility in April.

       18.     Starting in February 2019 PMA and VNSFS worked together to prepare for this

review. Representatives from both companies regularly met to discuss what may be expected

and how potential items may be handled.

       19.     Even prior to the notice of the audit, PMA had full knowledge of the status of the

cybersecurity system. PMA previously changed the cybersecurity reporting structure so that

VNSFS’ cybersecurity employees no longer reported to VNSFS management. Instead, they



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reported directly to PMA’s project manager, Damon Detillion. In doing so, PMA took active

control of the cybersecurity function.

       20.     PMA also knew of the current status of the cybersecurity system through the

reports VNSFS submitted in the Risk Tracking System. VNSFS would enter issues that arose

during operations into the Risk Tracking System and suggest possible fixes to PMA. Such fixes

would be implemented upon PMA’s approval. The Risk Tracking System would also be used to

monitor the progress on any remediation. PMA, therefore, was intimately familiar with the

cybersecurity system.

       21.     DOE conducted its review between April 15 and 17, 2019.

       22.     On April 18, 2019 DOE conducted a debriefing to outline its findings. That

review identified twelve items that required correction. These ranged from clarifying written

procedures to software repairs on discrete elements of the system to address vulnerabilities.

DOE requested a Corrective Action Plan to address these concerns.

       23.     Following the debriefing, PMA and VNSFS met to create the Corrective Action

Plan. The plan outlined the specific short, medium, and long-term steps to be taken for each item

along with a timeline to complete the tasks.       VNSFS, with PMA’s assistance, created a

spreadsheet of the outstanding items and a general description of the work needed to resolve

each. (See Exh. B)

       24.     PMA brought in Gregg Opperman, a project manager from outside PMA, to put a

schedule together for these remediation efforts (the “PMA Recovery Schedule”; Exh. C). The

PMA Recovery Schedule showed complete resolution of the issues raised by DOE would take an

average of 214 days. While many of the short- and medium-term milestones would take much

less time, PMA understood the time it would take to address the issues. Upon information and



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belief, the time frames in the PMA Recovery Schedule were incorporated into the Corrective

Action Plan.

       25.     On April 23, 2019, PMA notified VNSFS that it engaged an outside cybersecurity

consultant to review the issues raised in the debrief by DOE and demanded VNSFS cooperate

with this consultant. VNSFS provided the requested cooperation and sought a copy of the

consultant’s findings. PMA refused to provide this information.

       26.     Throughout April and May, VNSFS worked with PMA to complete the

Corrective Action Plan and cooperated with PMA’s outside consultant.

       27.     VNSFS also began work to address the short-term milestones in the PMA

Recovery Schedule. PMA knew of VNSFS’ efforts.

       28.     While VNSFS worked to resolve the issues raised by DOE, PMA began

concocting its scheme to improperly terminate VNSFS.

       29.     Upon information and belief, PMA entered negotiations with Leidos for Leidos to

replace VNSFS as its subcontractor. Leidos did not, to the best of VNSFS’ knowledge hold any

contracts or subcontracts at the Piketon facility. Upon information and belief, these discussions

resulted in a subcontract between PMA and Leidos.

       30.     On May 20, 2019 and without any notice to VNSFS, Leidos began posting job

openings for IT and cybersecurity positions at the Piketon facility. (See Exh. D) These jobs

were held by VNSFS employees at the time.

       31.     On May 21, 2019, the day after Leidos began posting its jobs, PMA sent VNSFS

a Notice of Default for the subcontract. (See Exh. E)

       32.     This Notice claimed VNSFS was in default based on the findings of DOE’s

review and demanded VNSFS cure twelve items within ten days.



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       33.    PMA indicated that if these twelve items were not cured by May 31, 2019 PMA

would terminate the entire subcontract – including the general IT services and records

management work for which there has been no finding of inadequacy.

       34.    PMA stated it had “no confidence or reasonable assurance” VNSFS could cure

these items which, in effect, made clear PMA had elected to terminate the subcontract despite

what VNSFS was able to accomplish during the ten-day cure period.

       35.    PMA had no “confidence or assurance” because it deliberately structured the

default notice in a way that made compliance impossible in one of four ways:

              a. Impossible Time Frame: PMA understood the timeframe needed to provide

                  complete correction of these issues and that ten days was not sufficient to

                  accomplish a complete cure. Many of these items were previously identified

                  in the DOE findings and, therefore, were part of the Corrective Action Plan

                  being prepared by PMA and VNSFS. Such items were included on the PMA

                  Recovery Schedule which showed an average completion duration of 214

                  days.

              b. PMA As Chokepoint: One of the new items required the purchase of new

                  hardware by PMA. PMA was the only entity that could approve acquisitions

                  of new equipment. VNSFS previously made requests for PMA to purchase

                  new hardware or software to address known issues but PMA refused to do so.

                  Thus, PMA, not VNSFS, controlled the ability of VNSFS to cure the new

                  issue on the notice to cure.

              c. Restricting Customer Access: PMA prohibited VNSFS from contacting DOE

                  even though some of these issues would require direct input from DOE. For



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                  example, PMA demanded VNSFS restore PMA’s Continuous Authority to

                  Operate (ATO) after it had been downgraded to a Fixed ATO. An ATO acts

                  as permission by DOE for a contractor to operate an IT system that houses

                  DOE information. A Continuous ATO does not have to be renewed. In

                  contrast, a Fixed ATO is only valid for a fixed amount of time (usually 1 – 3

                  years). A contractor can operate an IT system under either form of ATO.

                  Since an ATO can only be granted by DOE, it would likely be necessary for

                  VNSFS to deal directly with DOE to cure this issue.

               d. Including Item Which PMA Already Agreed Was Not A Default – One issue

                  raised by DOE required the development of a process for self-assessments.

                  VNSFS discussed this with PMA shortly after the DOE debrief review and

                  PMA agreed this matter was not a default under the subcontract but it was a

                  matter that needed to be addressed. In fact, PMA agreed that VNSFS would

                  begin working on this process on May 1, 2019 and would have until August

                  30, 2019 to complete it.

       36.     At the time PMA issued the Notice, it knew VNSFS was already working on

resolving these issues and issued the default notice in any event. VNSFS, in fact, was scheduled

to provide VNSFS’ proposed remedy on four of the items on Thursday, May 23 and then provide

its solutions on additional items the week of May 27.       VNSFS did, in fact, provide this

information to PMA.

       37.     On May 22, 2019, PMA submitted to DOE the Corrective Action Plan that

VNSFS helped prepare. VNSFS requested a copy of the Corrective Action Plan and PMA

refused.



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       38.     In addition to knowingly creating impossible deadlines, PMA deliberately

interfered with VNSFS’ relationship with current employees by encouraging them to submit

applications to either Leidos or PMA for their current VNSFS jobs:

              a. On May 20, 2019, the day before PMA sent its default notice, Leidos began

                 advertising job openings at the Piketon plant for positions such as

                 cybersecurity manager and information technology manager. (Exh. D)

              b. On May 22, 2019, PMA and its majority owner, North Wind, posted job

                 openings for a records management document control clerk. (Exh. F)

              c. On May 30, 2019, PMA sent an email to VNSFS employees in the IT and

                 cybersecurity sections providing a link to Leidos’ website. This link provided

                 an application for “Incumbent Capture” or, in other words, a means for current

                 VNSFS employees to be hired by Leidos. (Exh. G)

       39.     Taken together, PMA’s actions demonstrate that it pre-ordained the termination of

VNSFS prior to ever providing the default notice in that:

               a. PMA negotiated and apparently executed a subcontract with Leidos for the

                  cybersecurity and IT scopes of work prior to notifying VNSFS of the alleged

                  defaults.

               b. Leidos began listing jobs currently held by VNSFS employees before the

                  default notice was sent to VNSFS.

               c. Before VNSFS had the opportunity to respond to the default notice, PMA

                  listed jobs currently held by VNSFS employees and directly contacted VNSFS

                  employees to encourage them to apply to Leidos for the positions they

                  currently hold with VNSFS.



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           d. PMA issued the default notice knowing that VNSFS had been cooperating

              with PMA for over a month on developing a Corrective Action Plan and

              related schedule of activities.

           e. PMA issued the default notice knowing that VNSFS had made progress on

              correcting the issues raised by DOE.

           f. PMA constructed a ten-day cure period which it knew was impossible to meet

              since the timeframes set out in the PMA Recovery Schedule and, upon

              information and belief, the Corrective Action Plan, called for an average

              duration of 214 days to fully complete any remediation plan.

           g. PMA included items which were out of VNSFS’ ability to cure without

              specific action by PMA effectively allowing PMA to hold the cure process

              hostage.

           h. PMA impeded the ability of VNSFS to cure the issues by prohibiting VNSFS

              the ability to contact DOE regarding VNSFS’ cure activities.

           i. PMA impeded the ability of VNSFS to cure the issues by denying VNSFS

              access to relevant information that could be of assistance in these ongoing

              efforts such as a copy of the Corrective Action Plan and the results from the

              review by PMA’s third-party cybersecurity consultant.

           j. PMA impeded the ability of VNSFS to cure the issues by prohibiting VNSFS’

              project manager and assistant project manager from being involved at all in

              managing the cure process.

           k. PMA is attempting to terminate the entire contract despite the fact that the

              alleged defaults relate to a scope of work that represents no more than thirteen



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                   percent of the contract value, only five out of VNSFS’ thirty-three workers on

                   the project, and there have been no complaints about VNSFS’ performance of

                   the unimpacted scopes of work.

       40.    On May 31, 2019, VNSFS submitted its response to PMA’s default notice which,

in part, outlined the status of the twelve items in the default notice. (Exh. H) Specifically,

VNSFS noted by that date of the response:

              a.   VNSFS had completed the short-term cure milestone goals of 9 of 12 items

                   either before the notice or in the ten-day cure period;

              b.   1 of the 12 was moot by prior agreement with PMA;

              c.   1 of the 12 (the ATO item) was both immaterial to PMA’s performance

                   because it does constitute a breach per the express contractual terms and,

                   even if that were not true, it was impossible to perform by virtue of PMA’s

                   own direction not to contact DOE despite that issue’s resolution requiring

                   DOE to take action; and,

              d.   1 of the 12 was moot by PMA’s own failure to act (i.e., authorize a

                   previously requested procurement).

       41.    In short, 75% of the alleged breaches had been cured—or were already cured

before PMA’s “notice of default”—and 25% of the alleged breaches are either moot or rendered

impossible to cure by virtue of PMA’s own conduct.

       42.    Despite VNSFS fully and complete response, on June 3, 2019 PMA informed

VNSFS it would terminate the subcontract effective June 7, 2019. (Exh. I)

       43.    VNSFS’ business is focused exclusively on the federal government market,

generally, and projects at DOE complexes around the country, specifically.         PMA and its



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members, North Wind and Smith & Staley, are competitors in the DOE market. VNSFS is

constantly seeking new contracting opportunities with DOE directly and potential teaming

partners. VNSFS, for example, currently has three major proposals being reviewed by DOE and

any Termination for Default would require notification to the contracting officers and seriously

harm VNSFS’s ability to win those contracts.

          44.   A default termination, particularly a wrongful termination, would damage the

business reputation of VNSFS. VNSFS would be required to disclose such termination to

potential teaming and contracting partners and, thereby cause it to lose business opportunities

and revenue.     The amount of these losses is impossible to quantify and, therefore, cause

irreparable harm to VNSFS.

          45.   Conversely, in concocting an improper default termination of VNSFS, PMA and

its members create an improper competitive advantage over VNSFS in the DOE marketplace by

causing VNSFS to disclose this unsupported and wrongful termination. Indeed, PMA’s majority

owner, North Wind, is a direct competitor on the largest of the three proposals currently under

consideration by DOE.

          46.   PMA’s improper termination of VNSFS is not in the public’s interest as it creates

the possibility of disrupting the orderly operation of the DOE facility in Portsmouth since many

of the services and programs performed under this subcontract are critical to the timely D&D

cleanup of this site. Many of these positions require specialized training and any disruption may

impact those resources. Finally, the D&D cleanup schedule has been communicated to the

public and has regulatory milestones associated with it that this disruption could potentially

impact.




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                           COUNT I: DECLATORY JUDGMENT

       47.      VNSFS restates and realleges the allegations contained in the preceding

paragraphs by reference.

       48.      An actual controversy exists between VNSFS, on the one hand, and PMA on the

other as to whether PMA may terminate its subcontract with VNSFS.

       49.      A declaratory judgment would terminate those controversies.

       50.      Pursuant to 28 U.S.C. §2201, VNSFS hereby seeks a declaration from the Court

that PMA has no right to terminate VNSFS from its subcontract with PMA.

               COUNT II: PRELIMINARY AND PERMANENT INJUNCTION

       51.      VNSFS restates and realleges the allegations contained in the preceding

paragraphs by reference.

       52.      PMA’s attempt to terminate VNSFS for default constitutes a breach of the

subcontract.

       53.      Unless PMA is immediately restrained and enjoined, PMA will cause great and

irreparable injury to VNSFS for which VNSFS has no adequate remedy at law. There is a

substantial likelihood of success on the merits of its declaratory judgment claim. Moreover, the

balance of equities tips in favor of VNSFS, and the public interest would be served by an

injunction.

       54.      VNSFS seeks a preliminary and permanent injunction barring PMA from

terminating VNSFS’ subcontract for issues raised in the DOE findings and that VNSFS be given

a reasonable amount of time to finalize all work addressing issues raised by the DOE, which

reasonable time should be measured by the schedule set forth in the PMA Recovery Schedule.

       WHEREFORE, VNSFS prays for the following relief from this Court:



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       (1)    On Count I, a Declaration that PMA may not terminate VNSFS’ subcontract

based upon the issues raised by DOE in its April 2019 review;

       (2)    On Count II, a preliminary and permanent injunction barring PMA from

terminating VNSFS’ subcontract for issues raised in the DOE findings and that VNSFS be given

a reasonable amount of time to finalize all work addressing issues raised by the DOE, which

reasonable time should be measured by the schedule set forth in the PMA Recovery Schedule.



Respectfully submitted,

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